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                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION
 ______________________________________
                                        )
 DISPLAY TECHNOLOGIES, LLC,             )
                                        )
             Plaintiff,                 )
                                        ) Civ. Action No. 2:15-cv-00998-JRG-RSP
       v.                               ) (Lead Case)
                                        )
 NVIDIA CORPORATION,                    )
                                        ) JURY TRIAL DEMANDED
             Defendant.                 )
 ______________________________________ )



         NOTICE OF COMPLIANCE REGARDING SAMSUNG’S INVALIDITY
                CONTENTIONS AND DOCUMENT PRODUCTION

        Defendant Samsung Electronics America, Inc. (“SEA”) hereby provides notice that on

 November 20, 2015 it served its Invalidity Contentions and document production via electronic

 mail to Plaintiff’s counsel pursuant to the Court’s Docket Control Order (Dkt. No. 037) and

 Local Patent Rules 3-3 and 3-4.




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 November 20, 2015                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record who are deemed to have consented to electronic

 service are being served with a copy of the foregoing document via the Court’s CM/ECF system

 per Local Civil Rule CV-5(a)(3) on November 20, 2015.


                                                 /s/ Maxwell C. Preston
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